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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                  DUBLIN DIVISION

     IN RE:
     Roland McClendon,                               CHAPTER 13
     Bernice Braddy McClendon,                       CASE NO.: 19-30236
     a/k/a Bernice R. McClendon,
            Debtors.

     Lakeview Loan Servicing, LLC.,
                              Movant,
     v.

     Roland McClendon,
                                                     CONTESTED MATTER
     Bernice Braddy McClendon
           Debtors,
     Huon Le,
           Trustee,
                          Respondents.

                MOTION FOR RELIEF FROM THE AUTOMATIC STAY

           COMES NOW, Lakeview Loan Servicing, LLC (the “Movant”), by and through

    its undersigned counsel, moves for relief from the automatic stay and alleges as follows:

                                                1.

           The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, FRBP

    4001(a), and the various other applicable provisions of the United States Bankruptcy

    Code, Federal Rules of Bankruptcy Procedure, and the laws of the United States of

    America.

                                                2.

           Roland McClendon and Bernice Braddy McClendon (the “Debtors”), filed a

    petition for relief under Chapter 13 of the Bankruptcy Code on October 30, 2019.
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                                                  3.

           Movant is the holder or servicer of a loan secured by certain real property in

    which the Debtors have an interest. Movant holds a security interest in the Debtor’s real

    property now or formerly known as 651 Somerset Drive, East Dublin, Georgia 31027

    (the “Property”) by virtue of a Security Deed dated September 7, 2011. Said Security

    Deed secures a Note in the original principal amount of $73,427.00. The promissory note

    has been duly endorsed. Secured Creditor is the holder of the note (the "noteholder"),

    and is either the original Mortgagee, beneficiary, or assignee of the security instrument

    for the referenced loan. Noteholder directly or through an agent has possession of the

    promissory note and the Promissory note is either made payment to noteholder or has

    been duly endorsed.

                                                  4.

           The terms and conditions of the Note and Mortgage were later amended pursuant

    to the Loan Modification Agreement (the “Agreement”) made August 3, 2015. Said

    Agreement created a new principal balance of $78,842.58. A true and accurate copy of

    the Agreement is attached hereto.

                                                  5.

           Movant alleges that the Debtors are in default to Movant under the terms of the

    loan documents, having failed to make certain post-petition mortgage payments that have

    come due. As of May 17, 2022, the post-petition arrearage owed to Movant is $2,375.13

    and consists of five (5) monthly mortgage payments at $517.65, less a suspense balance

    of $460.10. An additional payment will come due June 1, 2022 and on the first day of

    each month thereafter until the loan is paid in full.
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                                                 6.

           Movant further alleges there appears to be no equity in the Property; therefore, the

    Property is not necessary for effective reorganization. The current unpaid principal

    balance due under the loan documents is approximately $71,190.27. The Property is most

    recently valued at $27,101.00 by the Laurens County Tax Assessor’s Office.

                                                 7.

           Movant’s security interest in the Property is not adequately protected due to the

    Debtor(s)’ failure to maintain the mortgage payments.

                                                 8.

           Movant has incurred attorney’s fees and costs as a result of filing this motion.

    These fees and costs are recoverable pursuant to the loan documents, and Movant seeks

    leave to recover these fees and costs under the remedies available therein.

                                                 9.

           Pursuant to 11 U.S.C. § 362, Movant alleges that sufficient cause, including lack

    of adequate protection, exists for the automatic stay to be terminated.



           WHEREFORE, Movant respectfully prays to the Court as follows:

                   (a) That the automatic stay under 11 U.S.C. § 362 be modified to allow

                           Movant to pursue state remedies to protect its security interest in

                           the Property, including, but not limited to, advertising to effectuate

                           a foreclosure sale and gaining possession of the Property; to

                           contact the Debtor via telephone or written correspondence to

                           discuss potential loan workout or loss mitigation opportunities; and

                           to perform property preservation as appropriate;
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                  (b) That Movant's attorney's fees and costs incurred in filing and

                          prosecuting this Motion be recoverable as pursuant to the loan

                          documents and remedies available therein;

                  (c) That the fourteen (14) day stay of Bankruptcy Rule 4001(a)(3) be

                          waived;

                  (d) That Movant be permitted to offer and provide Debtors with

                          information regarding a potential forbearance, loan modification,

                          refinance agreement, or other loan workout/loss mitigation

                          agreement, and to enter into such an agreement with Debtors.

                  (e) That in the event of an Order granting relief from the automatic stay

                          and said Order also instructing the Chapter 13 Trustee to cease

                          disbursements on Movant’s Proof of Claim, Fed. R. Bank. P.

                          3002.1 shall no longer apply as to Movant, as said Rule only

                          applies in Chapter 13 cases in which claims secured by a principal

                          residence are provided for under Section 1322(b)(5) of the Code in

                          the Chapter 13 Plan; and

                  (f) For such other and further relief the Court deems just and proper.

    Date: June 13, 2022
                                                Robertson, Anschutz, Schneid, Crane
                                                & Partners, PLLC

                                                /s/ Andrea L. Betts
                                                Andrea L. Betts
                                                Georgia Bar # 432863
                                                10700 Abbott's Bridge Road, Suite 170
                                                Duluth, GA 30097
                                                Telephone: 470-321-7112
                                                Fax: 404-393-1425
                                                Email: abetts@raslg.com
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                Supporting Docs
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           MIN:                                                                           Loan     Number:
                                                               NOTE


                                                                              FHA Case No.



           SEPTEMBER        7, 2011                         PARSIPPANY                                NEW JERSEY


                          651 SOMERSET            DRIVE,      EAST      DUBLIN,       GEORGIA        31027


           1.     PARTIES
                "Borrower" means each person signing at the end of this Note, and the person's successors and assigns.
           "Lender" means   AMERICAN      FINANCIAL        RESOURCES,         INC.,    A NEW JERSEY
           CORPORATION                                                                  and its successors'and assigns.

          2.      BORROWER'S PROMISE TO PAY; INTEREST

           SEVENTY-THREE           THOUSAND         FOUR     HUNDRED        TWENTY-SEVEN           AND 00/100
                                                                               Dollars (U.S.      73,427.00                    ~
          plus interest, to the order of Lender. Interest will be charged on unpaid principal, from the date of disbursement of
          the loan proceeds by Lender, at the rate of FIVE        AND 000/1000                                           percent
          (          5 .000 %) per year until the full amount of principal has been paid.

                  PROMISE TO PAY SECURED

          the same date as this Note and called the "Security Instrument."   The Security Instrument protects the Lender ITom
          losses which might result if Borrower defaults under this Note.

                  MANNEROFPAYMENT
             (A) Time
             Borrower shall make a payment of principal and interest to Lender on the 1       day of each month beginning
          on NOVEMBER 1, 2011                           . Any principal and interest remaining on the 1s           day of
          OCTOBER,     2041                    ,will be due on that date, which is called the "Maturity Date."
             (B) Place
             Payment shall be made at 9 SYLVAN WAY, PARSIPPANY,                         NEW JERSEY         07054

                                                                                                        , or at such other place

                (C) Amount
                Each monthly payment of principal and interest will be in the amount ofU. S.     394. 17
          This amount will be part of a larger monthly payment required by the Security Instrument, that shall be applied to
          principal, interest and other items in the order described in the Security Instrument.
                (D) Allonge to this Note for Payment Adjustments
                If an allonge providing for payment adjustments is executed by Borrower together with this Note, the covenants
          of the allonge shall be incorporated into and shall amend and supplement the covenants of this Note as if the allonge
          were a part of this Note.




          MULTISTATE - FHA FIXED RATE NOTE
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           (Check applicable box.)

               Growing Equity Allonge
               Graduated Payment Allonge
               Other [specifY

                BORROWER'S RIGHT TO PREPAY
                Borrower has the right to pay the debt evidenced by this Note, in whole or in part, without charge or penalty,
          on the first day of any month. Lender shall accept prepayment on other days provided that Borrower pays interest
          on the amount prepaid for the remainder of the month to the extent required by Lender and permitted by regulations
          of the             If Borrower
          of the monthly payment unless Lender agrees in writing to those changes.

          6.    BORROWER'S FAILURE TO PAY
                (A) Late Charge for Overdue Payments
                If Lender has not received the full monthly payment required by the Security Instrument, as described in
          Paragraph 4(C) of this Note, by the end of fifteen calendar days after the payment is due, Lender may collect a late
          charge in the amount of FOUR AND 000/1000                                             percent (            4.000       %)
          of the overdue amount of each payment.
                (8) Default
                If Borrower defaults by failing to pay in full any monthly payment, then Lender may, except as limited by
          regulations of the Secretary in the case of payment defaults, require immediate payment in full of the principal balance


          rights to require immediate payment in full in the case of payment defaults. This Note does not authorize acceleration
          when not permitted by HUD regulations. As used in this Note, "Secretary" means the Secretary of Housing and
          Urban Development or his or her designee.
                (C) Payment of Costs and Expenses
                If Lender has required immediate payment in full, as described above, Lender may require Borrower to pay costs
          and expenses including reasonable and customary attorneys' fees for enforcing this Note to the extent not prohibited
              applicable law. Such fees and costs shall bear interest from the date of disbursement at the same rate as the
          principal of this Note.

                WAIVERS
                Borrower and any other person who has obligations under this Note waive the rights of presentment and notice



                GIVING OF NOTICES
                Unless applicable law requires a different method, any notice that must be given to Borrower under this Note
          will be given by delivering it or by mailing it by first class mail to Borrower at the Property Address above or at a

                Any notice that must be given to Lender under this Note will be given by delivering it or by mailing it by first
          class mail to Lender at the address stated in Paragraph 4(B) or at a different address if Borrower is given a notice of
          that different address.

                OBUGATIONS OF PERSONS UNDER THIS NOTE
                If more than one person signs this Note, each person is fully and personally obligated to keep all ofthe promises
          made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or
          endorser of this Note is also obligated to do these things. Any person who takes over these obligations, including
          the obligations of a guarantor, surety or endorser of this Note, is also obligated to keep all of the promises made in




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           this Note. Lender may enforce its rights under this Note against each person individually or against all signatories
           together. Anyone person signing this Note may be required to pay all of the amounts owed under this Note.




                BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained              this Note.




                                                           (Seal)         "-                                             (Seal)
                                                                                                                     -Borrower




          ______________                                  (Seal)          _____________                                  (Seal)




          _____________                                   (Seal)          _______________                                (Seal)
                                                                                                                     -Borrower




                                     BA~, ATTO~NEY




                                                                                                          {Sign Original Only}




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           After Recording Return To:
             AMERICAN    FINANCIAL   RESOURCES,                   INC.
             9 SYLVAN WAY                                                             ~EORGIA INTANGIBLE TAX P~D
           'PARSIPPANY,      NEW JERSEY   07054
            'Loan  Number:                                                                $ ,



                                                     AI                                    COLLECTOR/COMMISSIOI'EA
                                                                                 ~olL:..     LAURENS COU~ITY
                                                     AI      26


                                                (Space Above6mIk.ol~~Datal               ------------



                                                                                               FHA CASE NO,




           MIN:

               TH[S SECURITY DEED ("Security (nstrument") is given on SEPTEMBER                         7,   2011
           The grantor is ROLAND MCCLENDON,         A MARRIED        MAN

                                                                                                                ("Borrower").
           This Security Instrument is given to Mortgage E[ectronic Registration Systems, Inc, ("MERS") as beneficiary. MERS
           is the nominee for Lender, as hereinafter defined, and Lender' successors and assigns, MERS is organized and
           existing under the laws of Delaware, and has an address and telephone number ofP,a, Box 2026, Flint, MI4850[.
           2026, tel. (888) 679-MERS,       AMERICAN       FINANCIAL          RESOURCES,         INC.,    A NEW
           JERSEY       CORPORATION                                                                                 ("Lender")
           is organized and existing under the laws of    NEW JERSEY
           andhasanaddressof        9 SYLVAN WAY, PARSIPPANY,                     NEW JERSEY         07054

           Borrower owes Lender the principal sum of       SEVENTY -THREE           THOUSAND FOUR HUNDRED
           TWENTY - SEVEN AND 00/100                                             Dollars (U,S,     73,427.00                ),
           This debt is evidenced by Borrower's note dated the same date as this Security Instrument ("Note"), which provides
           for monthly payments, with the full debt, if not paid earlier, due and payable on OCTOBER         1,  2041
           This Security Instrument secures to Lender: (a) the repayment of the debt evidenced by the Note, with interest,
           and all renewals, extensions and modifications of the Note; (b) the payment of all other sums, with interest,
           advanced under paragraph 7 to protect the security of this Security Instrument; and (c) the performance of
           Borrower' covenants and agreements under this Security Instrument and the Note. For this purpose, Borrower
           does hereby grant and convey to MERS (so(ely as nominee for Lender and Lender's successors and assigns)
           and the successors and assigns of MERS with power of sale, the following described property located in
           LAURENS                                          County, Georgia:




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           LEGAL      DESCRIPTION              ATTACHED        HERETO       AND MADE A PART                HEREOF.
           A.P.N.:      201181




           which has the address of      651    SOMERSET         DRIVE

                              EAST      DUBLIN                         , Georgia           31027                ("Property Address"):
                                    [City]                                                  [Z;p Code]


               TO HAVE AND TO HOLD this property unto Lender and Lender's successors and assigns, forever, together

           now or hereafter a part. of the property. All replacements and additions shall also be covered by this Security
                            of the
           and agrees that MERS holds only legal title to the interests granted by Borrower in this Security Instrument; but, if

           right: to exercise any or all ofthose interests, including, but not limited to, the right to foreclose and sell the Property;
           and to take any action required of Lender including, but not limited to, releasing or canceling this Security Instrument.
                BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right to

           warrants and will defend generally the title to the Property against all claims and demands, subject to any

               THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with


               UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
                I. Payment of Principal, Interest and Late Charge. Borrower shall pay when due the principal of, and
           interest on, the debt evidenced by the Note and late charges due under the Note,
                2. Monthly Payment of Taxes, Insurance, and Other Charges. Borrower shall include in each monthly
           payment, together with the principal and interest as set forth in the Note and any late charges, a sum for (a) taxes and

           Property, and (c) premiums for insurance required under paragraph 4. In any year in which the Lender must pay a

           which such premium would have been required if Lender still held the Security Instrument, each monthly payment
           shall also include either: (i) a sum for the annual mortgage insurance premium to be paid by Lender to the Secretary,
           or (ii) a monthly charge instead ofa mortgage insurance premium ifthis Security Instrument is held by the Secretary,
           in a reasonable amount to be determined by the Secretary, Except for the monthly charge by the Secretary, these items

               Lender may, at any time, collect and hold amounts for Escrow Items in an aggregate amount not to exceed the
           maximum amount that may be required for Borrower's escrow account under the Real Estate Settlement Procedures
           Act of         U, S,c. ~               and implementing regulations,   CFR Part 3500, as they may be amended


           the mortgage insurance premium,




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                                                                                                                    :,'.:




               If the amounts held by Lender for Escrow Items exceed the amounts permitted to be held by RESPA, Lender shall
           account to Borrower for the excess funds as required by RESPA. If the amounts of funds held by Lender at any time

           up the shortage as permitted by RESPA.
               The Escrow Funds are pledged as additional security for all sums secured by this Security Instrument. If
           Borrower tenders to Lender the full payment of all such sums, Borrower's account shall be credited with the balance
           remaining for all installment items (a), (b), and (c) and any mortgage insurance premium installment that Lender has
           not become obligated to pay to the Secretary, and Lender shall promptly refund any excess funds to Borrower.

           credited with any balance remaining for all installments for items (a), (b), and (c).
               3. Application o(Payments.       All payments under paragraphs I and 2 shall be applied by Lender as follows:
                FIRST, to the mortgage insurance premium to be paid by Lender to the Secretary or to the monthly charge by
               the Secretary instead of the monthly mortgage insurance premium;
                SECOND, to any taxes, special assessments, leasehold payments or ground rents, and fire, flood and other hazard

               THIRD, to interest due under the Note;
               FOURTH, to amortization of the principal of the Note; and
               FIFTH, to late charges due under the Note.


           for which Lender requires insurance.     This insurance shall be maintained in the amounts and for the periods that

           subsequently erected, against loss by floods to the extent required by the Secretary. All insurance shall be carried with
           companies approved by Lender. The insurance policies and any renewals shall be held by Lender and shall include
           loss payable clauses in favor of, and in a form acceptable to, Lender.
                In the event ofloss, Borrower shall give Lender immediate notice by mail. Lender may make proof ofloss if not
           made promptly by Borrower. Each insurance company concerned is hereby authorized and directed to make payment
           for such loss directly to Lender, instead of to Borrower and to Lender jointly. All or any part of the insurance
           proceeds may be applied by Lender, at its option, either (a) to the reduction of the indebtedness under the Note and

           of principal, or (b) to the restoration or repair of the damaged Property. Any application of the proceeds to the
           principal shall not extend or postpone the due date of the monthly payments which are referred to in paragraph 2, or

           indebtedness under the Note and this Security Instrument shall be paid to the entity legally entitled thereto.
                In the event of foreclosure of this Security Instrument or other transfer of title to the Property that extinguishes
           the indebtedness, all right, title and interest of Borrower in and to insurance policies in force shall pass to the


           Leaseholds. Borrower shall occupy, establish, and use the Property as Borrower's principal residence within sixty
           days after the execution of this Security Instrument (or within sixty days of a later sale or transfer of the Property)
           and shall continue to occupy the Property as Borrower's principal residence for at least one year after the date of


           circumstances. Borrower shall not commit waste or destroy, damage or substantially change the Property or allow the
           Property to deteriorate, reasonable wear and tear excepted. Lender may inspect the Property if the Property is vacant

           abandoned Property. Borrower shall also be in default if Borrower, during the loan application process, gave
           materially false or inaccurate information or statements to Lender (or failed to provide Lender with any material
           information) in connection with the loan evidenced by the Note, including, but not limited to, representations
           concerning Borrower's occupancy of the Property as a principal residence. If this Security Instrument is on a




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           leasehold, Borrower shall comply with the provisions of the lease. If Borrower acquires fee title to the Property, the
           leasehold and fee title shall not be merged unless Lender agrees to the merger in writing.

                                                                of the
           hereby assigned and shall be paid to Lender to the extent of the full amount of the indebtedness that remains unpaid
           under the Note and this Security Instrument. Lender shall apply such proceeds to the reduction of the indebtedness
           under the Note and this Security Instrument, first to any delinquent amounts applied in the order provided in
           paragraph 3, and then to prepayment of principal. Any application of the proceeds to the principal shall not extend
           or postpone the due date ofthe monthly payments, which are referred to in paragraph 2, or change the amount of such
           payments. Any excess proceeds over an amount required to pay all outstanding indebtedness under the Note and this
           Security Instrument shall be paid to the entity legally entitled thereto.
               7. Charges to Borrower and Protection of Lender's Rights in the Property.                Borrower shall pay all

           these obligations on time directly to the entity which is owed the payment.     If failure to pay would adversely affect

           evidencing these payments.
               If Borrower fails to make these payments or the payments required by paragraph 2, or fails to perform any other

           affect Lender's rights in the Property (such as a proceeding in bankruptcy, for condemnation or to enforce laws or
           regulations), then Lender may do and pay whatever is necessary to protect the value of the Property and Lender's

                Any amounts disbursed by Lender under this paragraph shall become an additional debt of Borrower and be
           secured by this Security Instrument. These amounts shall bear interest from the date of disbursement at the Note rate,
           and at the option of Lender shall be immediately due and payable.
                Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower:
           (a) agrees in writing to the payment ofthe obligation secured by the lien in a manner acceptable to Lender; (b) contests
           in good faith the lien by, or defends against enforcement of the lien in, legal proceedings which in the Lender's
           opinion operate to prevent the enforcement of the lien; or (c) secures from the holder of the lien an agreement
           satisfactory to Lender subordinating the lien to this Security Instrument. If Lender determines that any part of the

           notice identifYing the lien. Borrower shall satisfY the lien or take one or more of the actions set forth above within
           10 days of the giving of notice.
                8. Fees. Lender may collect fees and charges authorized by the Secretary.
                9. Gronnds for Acceleration of Debl.
                    (a) Default. Lender may, except as limited by regulations issued by the Secretary in the case of payment
                    defaults, require immediate payment in full of all sums secured by this Security Instrument if:
                          (i) Borrower defaults by failing to pay in full any monthly payment required by this Security
                          Instrument prior to or on the due date of the next monthly payment, or
                          (ii) Borrower defaults by failing, for a period of thirty days, to perform any other obligations

                    (b) Sale Without Credit Approval. Lender shall, ifpermitted by applicable law (including section 341(d)
                    of the Gam-SI. Germain Depository Institutions Act of 1982, 12 U.S.C. 170lj - 3(d)) and with the prior
                    approval of the Secretary, require immediate payment in full of all sums secured by this Security lnstrument if:
                          (i) All or part of the Property, or a beneficial interest in a trust owning all or part of the Property, is
                          sold or otherwise transferred (other than by devise or descent), and
                          (ii) The Property is not occupied by the purchaser or grantee as his or her principal residence, or the
                          purchaser or grantee does so occupy the Property, but his or her credit has not been approved in
                          accordance with the requirements of the Secretary.
                    (c) No Waiver. If circumstances occur that would permit Lender to require immediate payment in full,
                    but Lender does not require such payments, Lender does not waive its rights with respect to subsequent events.




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                    (d) Regulations of          Secretary. In many circumstances regulations issued by the Secretary will limit
                    Lender's rights, in the case of payment defaults, to require immediate payment in full and foreclose if not

                    of the Secretary.
                    (e) Mortgage Not Insured.          Borrower agrees that if this Security Instrument and the Note are not
                    determined to be eligible for insurance under the National Housing Act within 60 DAYS
                    from the date hereof, Lender may, at its option, require immediate payment in full of all sums secured by

                     60 DAYS                             from the date hereof, declining to insure this Security Instrument and
                    the Note, shall be deemed conclusive proof of such ineligibility. Notwithstanding the foregoing, this option
                    may not be exercised by Lender when the unavailability of insurance is solely due to Lender's failure to remit


           because of Borrower's failure to pay an amount due under the Note or this Security Instrument.       This right applies




           properly associated with the foreclosure proceeding. Upon reinstatement by Borrower, this Security Instrument and
           the obligations that it secures shall remain in effect as if Lender had not required immediate payment in fuJI.
           However, Lender is not required to permit reinstatement if: (i) Lender has accepted reinstatement after the

           foreclosure proceeding, (ii) reinslatement will preclude foreclosure on different grounds in the future, or (iii)
           reinstatement will adversely affect the priority of the lien created by this Security Instrument.
                11. Borrower Not Released; Forbearance by Lender Not a Waiver. Extension of the time of payment or




           ofthis Security Instrument shall bind and benefit the successors and assigns of Lender and Borrower, subject to the
           provisions of paragraph 9(b). Borrower's covenants and agreements shall be joint and several. Any Borrower who
           co-signs this Security Instrument but does not execute the Note: (a) is co-signing this Security Instrument only to
           mortgage, grant and convey that Borrower's interest in the Property under the terms of this Security Instrument; (b)
           is not personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that Lender and any


                13. Notices. Any notice to Borrower provided for in this Security Instrument shall be given by delivering it or
           by mailing it by first class mail unless applicable law requires use of another method. The notice shall be directed
           to ihe Property Address or any other address Borrower designates by notice to Lender. Any notice to Lender shall
           be given by first class mail to Lender's address slated herein or any address Lender designates by notice to Borrower.
           Any notice provided for in this Security Instrument shall be deemed to have been given to Borrower or Lender when
           given as provided in this paragraph.
                14. Governing Law; Severability. This Security Instrument shall be governed by federal law and the law of
           the jurisdiction in which the Property is located. In the event that any provision or clause of this Security Instrument
           or the Note conflicts with applicable law, such conflict shall not affect other provisions of this Security Instrument
           or the Note which can be given effect without the conflicting provision. To this end the provisions of this Security
           Instrument and the Note are declared to be severable.
                15. Borrower's Copy. Borrower shall be given one conformed copy ofthe Note and of this Security Instrument.




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                                                                                                              -.

                 16. Hazardous Substances. Borrower shall not cause or permit the presence, use, disposal, storage, or release
            of any Hazardous Substances on or in the Property. Borrower shall not do, nor allow anyone else to do, anything
           affecting the Property that is in violation of any Environmental Law. The preceding two sentences shall not apply
           to the presence, use, or storage on the Property of small quantities of Hazardous Substances that are generally
            recognized to be appropriate to normal residential uses and to maintenance of the Property.
                 Borrower shall promptly give Lender written notice of any investigation, claim, demand, lawsuit or other action
            by any governmental or regulatory agency or private party involving the Property and any Hazardous Substance or
            Environmental Law of which Borrower has actual knowledge. If Borrower learns, or is notified by any governmental
           or regulatory authority, that any removal or other remediation of any Hazardous Substances affecting the Property
            is necessary, Borrower shall promptly take all necessary remedial actions in accordance with Environmental Law.
                 As used in this paragraph 16, "Hazardous Substances" are those substances defined as toxic or hazardous
           substances by Environmental Law and the following substances: gasoline, kerosene, other flammable or toxic
           petroleum products, toxic pesticides and herbicides, volatile solvents, materials containing asbestos or formaldehyde,
           and radioactive materials. As used in this paragraph 16, "Environmental Law" means federal laws and laws of the
           jurisdiction where the Property is located that relate to health, safety or environmental protection.

               NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
                 17. Assignment of Rents. Borrower unconditionally assigns and transfers to Lender all the rents and revenues
           of the Property. Borrower authorizes Lender or Lender's agents to collect the rents and revenues and hereby directs
           each tenant of the Property to pay the rents to Lender or Lender's agents. However, prior to Lender's notice to
           Borrower of Borrower's breach of any covenant or agreement in the Security Instrument, Borrower shall collect and
           receive all rents and revenues of the Property as trustee for the benefit of Lender and Borrower. This assignment of
           rents constitutes an absolute assignment and not an assignment for additional security only.
                 If Lender gives notice of breach to Borrower: (a) all rents received by Borrower shall be held by Borrower as
           trustee for benefit of Lender only, to be applied to the sums secured by the Security Instrument; (b) Lender shall be
           entitled to collect and receive all of the rents of the Property; and (c) each tenant of the Property shall pay all rents
           due and unpaid to Lender or Lender's agent on Lender's written demand to the tenant.
                Borrower has not executed any prior assignment ofthe rents and has not and will not perform any act that would
           prevent Lender rrom exercising its rights under this paragraph 17.
                Lender shall not be required to enter upon, take control of or maintain the Property before or after giving notice
           of breach to Borrower. However, Lender or ajudicially appointed receiver may do so at any time there is a breach.
           Any application of rents shall not cure or waive any default or invalidate any other right or remedy of Lender. This
           assignment of rents of the Property shall terminate when the debt secured by the Security Instrument is paid in full.
                 18. Foreclosure Procedure. If Lender requires immediate payment in full under paragraph 9, Lender may
           invoke the power of sale granted by Borrower and any other remedies permitted by applicable law. Borrower
           appoints Lender the agent and attorney-in-fact for Borrower to exercise the power of sale. Lender shall be
           entitled to collect all expenses incurred in pursuing the remedies provided in this paragraph 18, including, but
           not limited to, reasonable attorneys' fees and costs of title evidence.
                If Lender invokes the power of sale, Lender shall give a copy of a notice of sale to Borrower in the manner
           provided in paragraph 13 and shall give notice of sale by public advertisement for the time and in the manner
           prescribed by applicable law. Lender, without further demand on Borrower, shall sell the Property at public
           auction to the highest bidder at the time and place and under the terms designated in the notice of sale in one
           or more parcels and in any order Lender determines. Lender or its designee may purchase the Property at any
           sale.
                Lender shall convey to the purchaser indefeasible title to the Property, and Borrower hereby appoints
           Lender Borrower's agent and attorney-in-fact to make such conveyance. The recitals in the Lender's deed shall
           be prima facie evidence of the truth of the statements made therein. Borrower covenants and agrees that
           Lender shali apply the proceeds, of the sale in the following order: (a) to all expenses of the sale, including, but
           not limited to, reasonable attorneys' fees; (b) to all sums secured by this Security Instrument; and (c) any excess
           to the person or persons legally entitled to it. The power and agency granted are coupled with au interest, are




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           irrevocable by death or otherwise and are cumulative to the remedies for collection of debt as provided by
           applicable law.
                If the Property is sold pursuant to this paragraph 18, Borrower, or any persou holdiug possession of the
           Properly through Borrower, shall immediately surrender possession of the Properly to the purchaser at the sale.
           If possession is not surrendered, Borrower or such person shall be a tenant holding over and may be
           dispossessed in accordance with applicable law.
                If the Lender's interest in this Security Instrument is held by the Secretary and the Secretary requires
           immediate payment in full under paragraph 9, the Secretary may invoke the nonjudicial power of sale provided
           in the Single Family Mortgage Foreclosure Act of 1994 ("Act'~ (12 U.S.C. 3751                 by reqnesting a
           foreclosure   commissioner   designated   under the Act to commence   foreclosure   and to sell the Property as provided
           in the Act. Notbing in the preceding sentence shall deprive the Secretary of any rights otherwise available to
           a Lender under this paragraph 18 or applicable law.
                19. Release. Upon payment of all sums secured by this Security Instrument. Lender shall cancel this Security

           Instrument, but only if the fee is paid to a third party for services rendered and the charging of the fee is permitted
           under applicable law.
                20. Waivers of Homestead. Borrower waives all rights of homestead exemption in the Property.
                21. Assumption Not a Novation. Lender's acceptance of an assumption of the obligations of this Security

               22. Security Deed. This conveyance is to be construed under the existing laws of the State of Georgia as a deed
           passing titie, and not as a mortgage, and is intended to secure the payment of all sums secured hereby.
               23. Riders to this Security Instrument. If one or more riders are executed by Borrower and recorded together
           with this Security Instrument, the covenants of each such rider shall be incorporated into and shall amend and
           supplement the covenants and agreements of this Security Instrument as if the rider(s) were a part of this Security


               [Check applicable box(es)].
                    Condominium Rider                            Graduated Payment Rider       Growing Equity Rider
                    Planned Unit Development Rider               Adjustable Rate Rider         Rehabilitation Loan Rider
                    Non-Owner Occupancy Rider                    Other [Specify] MANUFACTURED       HOME RIDER,
                                                                 ACKNOWLEDGMENT          WAIVER RIDER




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                BY SIGNING BELOW, Borrower accepts and agrees to the terms contained in pages I through 8 ofthis Security
           Instrument and in any rider(s) executed by Borrower and recorded with it.

               IN WITNESS WHEREOF, Borrower has signed and sealed this Security Instrument.




                                                             (Seal)         ______________                         (SeaI)




           ______________                                    (Seal)         ______________                         (Seal)




           ______________                                    (SeaI)         ______________                         (Seal)




           _____________                          [Space Below This Line For Acknowledgment)   .                      _




           Signed, sealed and delivered on this




                                                                           Printed Name:




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               All that tract or parcel of land lying and being in the 52nd G .M. District of
               Laurens County, Georgia, being Lot 25, Somerset Subdivision, Phase I, as
               per plat recorded in Plat Book 7, Page 759, Laurens County, Georgia, which
               plat is hereby referred to and made a part of this description.

               Together with an improvement and immovable fixture permanently attached
               thereto, a Pioneer Manufactured Home, Serial No. 20149, Vehicle
               Identification No.
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              .Recording Requested. By:
             " Whim Recorded Return To: DOCUMENT CONTROL DEPARTMENT,                  LOANCARE,      LLC PO Box 8068, Virginia
         --,   Beach, VA 23450


                                                 CORPORATE     ASSIGNMENT      OF SECURITY DEED
             Laurens, Georgia
             SELLER'S SERVICING                    "MCCLENDON"
             SELLER'S LENDER ID#:




             Date of Assignment: July 22nd, 2015
             Assignor: AMERICAN FINANCIAL RESOURCES, INC. at 9 SYLVAN WAY, PARSIPPANY, NJ 07054
             Assignee: LAKEViEW LOAN SERVICING, LLC at 4425 PONCE DE LEON BLVD, MS 5-251, CORAL GABLES, FL
             33146

             Executed By:ROLAND MCCLENDON, A MARRIED MAN To: MORTGAGE ELECTRONIC REGISTRATION
             SYSTEMS, INC AS NOMINEE FOR AMERICAN FINANCIAL RESOURCES, INC., ITS SUCCESSORS AND/OR
             ASSIGNS
             Date of Security Deed: 09/07/2011 Recorded: 09/08/2011 in Book/Reel/Liber: 2287 Page/Folio: 191 as Instrument
             No.: N/A In the County of Laurens, State of Georgia.

             Property Address: 651 SOMERSET        DRIVE, EAST DUBLIN, GA 31027

               KNOW ALL MEN BY THESE PRESENTS, that for good and valuable consideration, the receipt and sufficiency of
             which is hereby acknowledged, the said Assignor hereby assigns unto the above-named Assignee, the said
             Mortgage having an original principal sum of $73,427.00 with interest, secured thereby, and the full benefit of all the
             powers and of all the covenants and provisos therein contained, and the said Assignor hereby grants and conveys
             unto the said Assignee, the Assignor's interest under the Mortgage.

                TO HAVE AND TO HOLD the said Mortgage, and the said property unto the said Assignee forever, subject to the
             terms contained in said Mortgage.

             O~M~~~L                        RESOURCES,   INC




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             STATE OF New Jersey
             CO   TV OF Essex

             On               711>1-,  before me, LISA A. SALVATORIELLO, a Notary Public in andforEssex         in the State of New
             Jers ,pe onal y appeared JOE BURNS, VICE PRESIDENT, personally known to me (or proved to me on the
             basis of sa isfactory evidence) to be the person(s) whose name(s) is/are subscribed to the within instrument and
             acknowledged to me that he/she/they executed the same in his/her/their authorized capacity, and that by
             his/her/their signature on the instrument the person(s), or the entity upon behalf of which the person(s) acted,
             executed the instrument.                                                                                      ,.•. i~~lll"
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